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IN THE

TENTH COURT OF APPEALS

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No. 10-06-00311-CR

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In re
Carl Long

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Original Proceeding

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ORDER



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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The opinion and judgment dated November
1, 2006 are withdrawn, and the opinion and judgment of even date herewith are
substituted therefore.&nbsp; Appellant’s motion for rehearing is denied.

PER CURIAM

Before Chief Justice
Gray,

Justice
Vance, and

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice Reyna

Order issued and filed December
6, 2006

Do not publish

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